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                     IN THE UNITED STATES OF DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JEANNETTE STALEY                  )
                                  )
                                  )   Civil Action No. 1:17-CV-00669
                                  )
           Plaintiff,             )   Honorable John J. Tharp, Jr.
                                  )
v.                                )
                                  )   JURY TRIAL DEMANDED
SUNRISE SENIOR LIVING             )
MANAGEMENT, INC.,                 )
MS BARRINGTON, SH, LLC;           )
SUNRISE SENIOR LIVING SERVICES, )
                                  )
           Defendants.            )
                      DEFENDANTS’ MOTION TO DISMISS

       NOW COME, the Defendants, SUNRISE SENIOR LIVING MANAGEMENT, INC.

and MS BARRINGTON SH, LLC (collectively referred to as “Sunrise”)1, by and through their

attorneys, PRETZEL & STOUFFER, CHARTERED, and for their Motion to Dismiss pursuant

to Federal Rule of Civil Procedure 12(b)(6) hereby state as follows:

                                       INTRODUCTION

       This Court should dismiss Plaintiff’s Complaint with prejudice because each of

Plaintiff’s purported claims fail as a matter of law. First, Plaintiff’s purported claims under the

Nursing Home Care Act, 210 ILCS 45/1-101, necessarily must fail because Sunrise of

Barrington, an assisted living facility, is expressly omitted from the reach of that statute.

Second, Plaintiff’s remaining claims for negligence surrounding Sunrise’s medical judgment and

treatment should be dismissed because Plaintiff failed to support those allegations with the



1
 Sunrise Senior Living Services, Inc. that was originally named as a defendant has been
dismissed pursuant to a stipulation entered into by and between the parties and thus is not a party
to this motion. The stipulation is attached to as Exhibit 1 for this Court’s review.
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necessary certificate of merit as required by 735 ILCS 5/2-622 and Illinois’ substantive law.

Consequently, Plaintiff cannot state a cause of action upon which relief may be granted and

Sunrise is entitled to dismissal pursuant to Fed. R. Civ. P. 12(b)(6).

                       SUMMARY OF PERTINENT ALLEGATIONS

       In her Complaint at Law, Plaintiff purports to allege claims for professional negligence

and violations of the Nursing Home Care Act against Sunrise. (A copy of the Complaint is

attached hereto as Exhibit 2). Specifically, Plaintiff alleges negligence under the Nursing Home

Care Act, 210 ILCS 45/1-101 et seq.

        Throughout her complaint, Plaintiff alleges that Sunrise operated a “nursing home” in

Barrington, Illinois pursuant to a license issued by the State of Illinois. In actuality, Sunrise of

Barrington is a duly licensed assisted living facility. (See Assisted Living Operating License,

attached hereto as Exhibit 3). Nonetheless, according to Plaintiff, Sunrise had a duty to “exercise

the care required of a nursing home owner, licensee and/or operator in the same or similar

circumstances” and negligently “failed to adequately nourish and hydrate Plaintiff” and “failed to

take adequate and necessary precautions to prevent Plaintiff from falling,” among other things.

(See Exhibit 1 at ¶14). According to the plaintiff, these alleged errors in professional medical

judgment and alleged violations of statutory law led to Plaintiff’s injuries.

       Plaintiff’s allegations fail to state a plausible cause of action and warrant dismissal under

Rule 12(b)(6). As articulated below, Plaintiff’s purported claims fail under the controlling

principles of Illinois’ substantive law. Accordingly, this Court should grant Sunrise’s Motion to

Dismiss.

  STANDARD FOR MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(6)

       A motion to dismiss under Rule 12(b)(6) challenges a complaint for failure to state a



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claim upon which relief may be granted. Fed. R. Civ. P. 12(b)(6). When ruling on a motion to

dismiss for failure to state a claim under Rule 12(b)(6), the Court looks to the complaint to

determine whether it satisfies the threshold pleading requirements under Fed. R. Civ. P. 8. Arnett

v. Webster, 658 F.3d 742, 751 (7th Cir. 2011). To survive a Rule 12(b)(6) motion, a complaint

must allege “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007). “In other words, the plaintiff has an obligation to provide

the grounds of his entitlement to relief by providing more than labels and conclusions because a

formulaic recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at 570.

Moreover, Rule 10(c) provides that a “copy of any written instrument which is an exhibit to a

pleading is a part thereof for all purposes.” Fed. R. Civ. P. 10(c).

       In the context of a Rule 12(b)(6) Motion to Dismiss, the Court may rely upon attached

exhibits in ruling on the motion, when the exhibit are “referred to in the plaintiff’s complaint and

are central to his claims.” McCready v. eBay, Inc., 453 F.3d 882, 891 (7th Cir. 2006). The

Complaint “must actually suggest that the plaintiff has a right to relief, by providing allegations

that raise a right to relief above the speculative level.” Arnett, 658 F.3d at 752. Here, each of

Plaintiff’s alleged claims fail to satisfy these pleading requirements, fail as a matter of Illinois

law, and thus warrant dismissal pursuant to Rule 12(b)(6).

                      ILLINOIS LAW CONCERNING 735 ILCS 5/2-622

       Under Illinois substantive law, a plaintiff bringing a medical malpractice or healing arts

claim must file a physician’s report which clearly identifies the reasons for the health

professional’s determination that there is a meritorious cause of action. 735 ILCS 5/2-622;

Peterson v. Hinsdale Hosp., 233 Ill. App. 3d 327, 331 (2 Dist. 1992). 735 ILCS 5/2-622 is

designed to reduce the number of frivolous lawsuit that are filed and to eliminate such actions at



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an early stage, before the expenses of litigation have mounted. Deluna v. St. Elizabeth’s

Hospital, 147 Ill.2d 57, 588 N.E.2d 1139 (1992).

                                         ARGUMENT

I.     PLAINTIFF’S CLAIMS PURSUANT TO THE NURSING HOME CARE ACT
       NECESSARILY FAIL AS SUNRISE OF BARRINGTON IS AN ASSISTED
       LIVING FACILITY.

       This Court should dismiss the Plaintiff’s Complaint with prejudice because her

allegations rely upon an inapplicable statutory scheme. The controlling allegations of Plaintiff’s

Complaint at Law are premised upon Sunrise’s alleged breach of a duty created by the Nursing

Home Care Act, 210 ILCS 45/1-101 et seq. In particular, Plaintiff mistakenly and improperly

alleges that the Defendants operated a “nursing home” in Barrington, Illinois pursuant to a

license issued by the State of Illinois and pursuant to the Nursing Home Care Act, 210 ILCS

45/1-101. (See Exhibit 1, ¶¶ 2-12).

       Additionally, Plaintiff alleges that Sunrise owed a certain duty under that same statutory

scheme. (See Exhibit 1, ¶ 10). However, none of the defendants operate a nursing home. Sunrise

of Barrington is licensed by the State of Illinois as an assisted living facility. (See Exhibit 2).

The statutory scheme outlined by the Illinois legislature and relied upon by Plaintiff has drawn

the careful distinction between “nursing homes” and “assisted living facilities,” with the latter

being expressly excluded from the ambit of the Nursing Home Care Act. 210 ILCS 45/1-

113(10). Consequently, the Nursing Home Care Act is inapplicable to this case; Sunrise owed

Plaintiff no duty under that statute. Therefore, Plaintiff’s Complaint at Law should be dismissed

with prejudice under Fed. R. Civ. P. 12(b)(6).




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II.    PLAINTIFF’S ALLEGATIONS OF COMMON LAW PROFESSIONAL
       NEGLIGENCE FAIL AS A MATTER OF ILLINOIS LAW BECAUSE THEY
       IMPLICATE SUNRISE’S MEDICAL JUDGMENT AND THEREFORE,
       REQUIRE SUPPORT FROM A QUALIFIED MEDICAL PROFESSIONAL.

       Plaintiff’s negligence claims similarly warrant dismissal under Rule 12(b)(6) because

Plaintiff failed to attach an affidavit of a qualified medical professional confirming that she has a

meritorious cause of action. (Exhibit 1). As this case was removed from Illinois state court on the

basis of diversity jurisdiction, Illinois law governs the substantive issues in this case. Ball v.

Kotter, 723 F.3d 813, 821 (7th Cir. 2013).

       Illinois law requires the plaintiff in a medical malpractice case to file an affidavit with the

complaint averring that the plaintiff is pursuing a meritorious claim. 735 ILCS 5/2-622. Not only

is this requirement a well-settled provision in Illinois state law, the requirements of Section 2-

622 are equally applicable to diversity proceedings in the federal system. See Sherrod v. Lingle,

223 F.3d 605, 613 (7th Cir. 2000) (finding the district court erred in dismissing the complaint

because the 2-622 affidavit was sufficient under Illinois law); Williams v. Erickson, 2013 U.S.

Dist. LEXIS 145242, 6 (N.D. Ill. Oct. 8, 2013) (“[T]he Court concludes that section 2-622(a)

does in fact apply to the present case”). Further, failure to file the affidavit is ground for

dismissal of the action. 735 ILCS 5/2-622(g). Dismissal for failure to comply with Section 2-622

is mandatory. Murphy v. United States, 2010 U.S. Dist. LEXIS 85172, *6 (N.D. Ill. August 19,

2010) (emphasis added), citing Sherrod, 223 F.3d at 613.

       Under Illinois law, Section 2-622 specifically applies to “healing arts malpractice.” 735

ILCS 5/2-622(a). The scope of what constitutes “healing arts malpractice” is broad and

encompasses all health professionals. Moskowitz v. City of Chicago, 1993 U.S. Dist. LEXIS

16402, 16-17 (N.D. Ill. Nov. 15, 1993); Lyon v. Hasbro Indus., Inc., 156 Ill. App. 3d 649, 509

N.E.2d 702 (4th Dist. 1987). Stated differently, the term “healing art” is broadly construed and

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generally concerns issues of medical judgment. Childs v. Pinnacle Health Care, LLC, 399 Ill.

App. 3d 167, 181, 926 N.E.2d 807, 819 (2nd Dist. 2010) (claim against long-term care facility).

Where the allegations are based on conduct which cannot be measured by common knowledge,

but require medical knowledge, Section 2-622 applies. Kus v. Sherman Hosp., 204 Ill. App. 3d

66, 72, 561 N.E.2d 381, 384 (2nd Dist. 1990).

       “Plaintiffs must comply with 735 ILCS 5/2-622 in cases where determining the standard

of care requires applying distinctive medical knowledge or principles, however basic.” Jackson

v. Chi. Classic Janitorial & Cleaning Serv., Inc., 355 Ill. App. 3d 906, 911, 823 N.E. 2d 1055,

1059 (1st Dist. 2005). Illinois Courts have stated that the type of case in which a plaintiff need

not file an affidavit under this section against a health care provider is the exceptional one.

Woodard v. Krans, 228 Ill. App. 3d 692, 705, 592 N.E.2d 1159, 1168-69 (2nd Dist. 1992). The

possibility that the standard of care may be established by lay knowledge does not necessarily

take the care outside the broad realm of “medical, hospital or healing art malpractice.” Id.

       Since the 1987 decision in Owens v. Manor Health Care Corp., 159 Ill. App. 3d 684 (4th

Dist. 1987), Illinois courts have expanded the definition of healing art to include Plaintiff’s

claims. For example, allegations of negligence such as inadequate monitoring and supervision,

failing to properly assess, negligent care planning and failing to ensure a resident’s safety, have

all been held to constitute and involve medical or professional judgment, such that rule 2-622

applies. Childs, 399 Ill. App. 3d at 182; Kolanowski v. IL Valley Comm. Hosp., 188 Ill. App. 3d

821 (3d Dist. 1989). Likewise, the determination of which equipment is necessary and

precautionary to meet a specific individual’s medical needs is inherently one of medical or

professional judgment. Lyon, 156 Ill. App. 3d at 655. Here, plaintiff’s allegations fall within the

purview of “healing arts malpractice.”



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       Plaintiff’s allegations clearly impugn the professional care, treatment, and judgment of

the nurses and staff at Sunrise. The controlling allegations in the Complaint reveal that Plaintiff’s

negligence claims arise from Sunrise’s alleged failures to provide care and treatment and to

exercise professional judgment in the delivery of care and treatment. According to Plaintiff,

Sunrise had a duty to “adequately nourish and hydrate Plaintiff” and to “take adequate and

necessary precautions to prevent Plaintiff from falling,” among other things. (See Exhibit 1, ¶

14). These claims implicate Sunrise’s medical judgment in assessing Plaintiff’s medical needs

and in providing her with appropriate care and treatment.

       Plaintiff’s allegations specifically assert that Sunrise failed in providing treatment and

care resulting in her dehydration and allegedly causing kidney damage. (Exhibit 1, ¶¶ 14-15). In

addition, Plaintiff asserts that Sunrise was also deficient in its professional judgment in failing to

plan for and provide the appropriate care and treatment which allegedly resulted in a fall and

subsequent injuries. (Exhibit 1, ¶¶ 14-15).

       Each of Plaintiff’s allegations identified above relates to conduct which cannot be

assessed with “common knowledge.” See Lyon, 156 Ill. App. 3d at 655, 509 N.E.2d at 706.

Rather, the assessment of Sunrise’s conduct requires specialized medical knowledge to articulate

the standard of care for health care professionals who assess and treat the medical needs of

residents, like Plaintiff, in an assisted living facility. See Childs, 399 Ill. App. 3d at 183, 926

N.E.2d at 819. It is undisputed that Plaintiff has not appended the certificate of merit required by

735 ILCS 5/2-622. (Exhibit 1).

       Accordingly, 735 ILCS 5/2-622 governs Plaintiff’s allegations in her Complaint at Law

as those claims plainly involve Sunrise’s purported negligence in exercising its medical

judgment. Plaintiff’s failure to substantiate her allegations of healing art negligence with the



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necessary affidavit of merit constitutes grounds for mandatory dismissal under Illinois law and

Rule 12(b)(6). This Court should dismiss Plaintiff’s Complaint accordingly.

                                         CONCLUSION

       Plaintiff cannot state a viable cause of action against Sunrise for its purported negligence.

This Court should dismiss the Complaint in its entirety and with prejudice. First, the controlling

allegations in Plaintiff’s Complaint at Law confirm that Plaintiff brought those claims under the

auspices of the Nursing Home Care Act, which is expressly inapplicable to Sunrise of

Barrington, an assisted living facility. In addition, Plaintiff’s claims for negligence are not

supported by the necessary affidavit under Section 2-622. As none of Plaintiff’s purported claims

state a valid claim under the substantive law of Illinois, Plaintiff’s Complaint warrants dismissal

in its entirety. Therefore, because each of Plaintiff’s alleged claims fails as a matter of law, this

Court should grant Sunrise’s Motion and dismiss Plaintiff’s Complaint in its entirety with

prejudice pursuant to Fed. R. Civ. P. 12(b)(6).

       WHEREFORE, the Defendants, SUNRISE SENIOR LIVING MANAGEMENT, INC.

and MS BARRINGTON SH, LLC, respectfully request that this Court grant their Motion to

Dismiss pursuant to Fed. R. Civ. P. 12(b)(6) with prejudice, and for any and all other relief that

this Court deems to be fair and just.

                                                      Respectfully submitted,


                                                      /s/ Robert E. Sidkey________
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                               CERTIFICATE OF SERVICE

        A copy of Defendants’ Motion to Dismiss, was filed electronically this 3rd day of
February, 2017. Notice of this filing will be sent to all parties by operation of the Court’s
electronic filing system. Parties may access this filing through the court’s electronic system.

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